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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                        Case No. 2:13-cv-14050-MARTINEZ-GOODMAN


   SECURITIES AND EXCHANGE
   COMMISSION,

          Plaintiff,

   vs.

   WE THE PEOPLE, INC. OF THE
   UNITED STATES,

         Defendant.
   ___________________________________/

                           RECEIVER’S EIGHTH STATUS REPORT

          Melanie E. Damian, the court-appointed receiver (the “Receiver”) for We the People, Inc.

   of the United States (“WTP” or the “Receivership Defendant”) in the above-captioned Securities

   and Exchange Commission (“SEC”) enforcement action, now submits, pursuant to this Court’s

   Order Granting Receiver’s Agreed Motion to Approve (1) The Rescission Agreement Between The

   Receiver And Comerica Legacy Foundation And Comerica Bank & Trust, N.A. And (2) The Plan

   For The Transfer of Assets To The Miami Foundation [E.C.N. #156] (referred to herein as the

   “Transfer Order”), her Eighth Status Report With Accounting of Receivership Funds Transferred

   to The Miami Foundation, and states as follows:

                                       I. INTRODUCTION

          On July 20, 2015, this Court entered the Transfer Order [E.C.N. #156], granting the

   Receiver’s Motion to Approve (1) The Rescission Agreement Between The Receiver And

   Comerica Legacy Foundation and Comerica Bank & Trust, N.A. and (2) The Plan For The Transfer
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   of Assets To The Miami Foundation [E.C.N. #152]. In the Transfer Order, the Court approved the

   Receiver’s plan for the rescission of the agreement to transfer the assets of the Receivership Estate

   to Comerica Legacy Foundation (“Comerica”) and approved the Receiver’s plan to transfer the

   assets of the Receivership Estate from Comerica to The Miami Foundation, as set forth in the

   Receiver’s Motion and attached Agreements with Comerica and The Miami Foundation. See

   E.C.N. # 156 at ¶¶ 1, 2, 4.

          In the Transfer Order, this Court also ordered that the Receiver should remain in place for

   a period of six (6) months from the date of the Court’s July 20, 2015, Order with the duties of

   implementing the rescission of the prior transfer, transferring the assets to The Miami Foundation,

   and filing a full accounting of the assets transferred. Id. at ¶ 17. The Court further directed the

   Receiver to report her findings to the Court regarding The Miami Foundation’s compliance with

   the Agreement for the transfer of the Receivership Estate Assets to The Miami Foundation (the

   “Miami Foundation Agreement”) and to provide a final accounting concerning the transfer of any

   outstanding funds to The Miami Foundation within two (2) weeks after the close of the

   aforementioned 6-month period. Id. at ¶ 18.

          The Receiver submits the instant Report in compliance with the Court’s directives in the

   Transfer Order. As explained in greater detail below, the Receiver and her professionals have

   monitored and analyzed the work of The Miami Foundation in connection with the transfer of the

   Receivership assets and with the charitable gift annuity program (the “CGA Program”). In

   reaching her conclusions and recommendations set forth herein, the Receiver and her Restructuring

   Officer have met with representatives from The Miami Foundation and have reviewed financial

   account information in connection with the CGA Program.




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           For the reasons set forth below, the Receiver recommends that she remain in place for two

   (2) additional months with the limited responsibilities of assuring that The Miami Foundation puts

   in place a satisfactory plan for the management of the CGA Program and the Receivership Estate

   assets in the best interests of the annuitants.

                                      II. BRIEF BACKGROUND

           On February 4, 2013, this Court entered the Receivership Order and appointed the Receiver

   to, among other duties, “manage, control, operate and maintain the Receivership Estate,” and “take

   such action as necessary and appropriate for the preservation of Receivership Property.” [Id. at ¶

   6.A.- 6.H.]. In undertaking her duties throughout the term of this Receivership, the Receiver has

   been mindful of her duties as a fiduciary to the victims and creditors of the Estate, including, most

   importantly, the annuitants and beneficiaries of the CGA Program. See Sovereign Bank v. Schwab,

   414 F.3d 450 (3d Cir. 2005) (receiver owes a fiduciary duty to victims and creditors); Golden

   Pacific Bancorp. v. F.D.I.C., 375 F.3d 196 (2d Cir. 2004) (same).

           As of the July 20, 2015, Transfer Order, the Receiver’s primary concern has been the

   monitoring of the transfer to The Miami Foundation and The Miami Foundation’s management of

   the assets of the Estate and the CGA Program to assure that the Program is sustainable and that the

   best interests of the creditors and victims of the Receivership Entity are protected now and

   throughout the term of the Program. Beyond monitoring the transfer to The Miami Foundation,

   the Receiver has continued the work of winding down the few remaining clawback actions against

   former marketing advisors for the Receivership Entity, We The People, Inc. of the United States

   (“WTP”).

           A full description of the history of the Receivership and all of the Receiver’s efforts and

   accomplishments in connection with identifying and marshaling assets of the Estate and otherwise



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   fulfilling her duties under the Receivership Order are detailed in the Receiver’s seven previous

   Status Reports (collectively, the “Reports”) [ECF ## 19, 45, 76, 94, 103, 113, and 127]. Moreover,

   the Receiver’s Accounting of Assets Transferred from Comerica Legacy Foundation to The Miami

   Foundation and To The Receivership Estate [ECF #160] (herein “Accounting of Assets

   Transferred”) sets forth a detailed accounting of those assets transferred from Comerica and the

   Receivership Estate to The Miami Foundation as of the Closing of the Transfer in mid-August

   2015.

           III. THE RECEIVER’S REVIEW OF THE MIAMI FOUNDATION’S
           COMPLIANCE WITH ITS DUTIES AND RESPONSIBILITIES UNDER THE
           TRANSFER AGREEMENT.

           As indicated above, at this time, the Receiver’s continuing work on behalf of the

   Receivership Estate involves the winding down and resolution of the final actions against WTP’s

   former marketing advisors, the handling of a few ministerial matters, and administrative work to

   assure that the transfer of the CGAs to The Miami Foundation is carried out according to the terms

   of the Transfer Agreement and in the best interests of the annuitants and investors whose contracts

   have been transferred.

           The Receiver and her Restructuring Officer have conducted periodic checks of The Miami

   Foundation’s banking activity in connection with the CGA Program and have met with The Miami

   Foundation’s representatives intermittently to address any questions or concerns. In anticipation

   of her planned discharge, the Receiver and her Restructuring Officer met with The Miami

   Foundation in early January to discuss what has been done to manage the assets and what plan is

   in place for the maintenance of the CGA Program for the long term. The Receiver learned that

   The Miami Foundation Investment Committee has not yet had time to implement a plan to manage

   the assets. As such, the Receiver and her Restructuring Officer offered to provide several plan



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   options for the management of the Program and to discuss the plans with the Investment

   Committee in early March. It is for this reason that the Receiver recommends that she remain in

   place for an additional two (2) months so that she can assure that The Miami Foundation

   Investment Committee is implementing an acceptable plan for the long-term benefit of the

   Program and the annuitants.

          As a result of the Receiver’s analysis and intermittent checks and ongoing discussions with

   The Miami Foundation, The Foundation agreed to a modification of the Transfer Agreement to

   reflect that The Miami Foundation will in good faith be responsible financially to sustain the

   Program in the long term. The agreed Amended Transfer Agreement will be submitted to the

   Court for approval with the Receiver’s Motion for Discharge.

      IV. ACCOUNTING OF THE ASSETS TRANSFERED TO THE MIAMI
      FOUNDATION TO DATE AND THE ASSETS REMAINING TO BE TRANSFERRED.

          As set forth in the Receiver’s Accounting of Assets Transferred, Comerica transferred the

   following assets to the Miami Foundation in August 2015:

          a) 503 Comerica Annuities with an accumulated value of $48,005,362.47;

          b) $1,595,450.86 in cash; and

          c) Miscellaneous assets, including computers and office equipment used at the former

              WTP offices.

          In addition, Comerica transferred the Title to one piece of real property located at 3320

   Harris Road, in Knoxville, Tennessee, to the Receiver. The Receiver is working to market and

   sell the property, and, upon doing so, the Receiver will turn over the proceeds of the sale to the

   Miami Foundation.




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          In addition to the above assets which were transferred by Comerica to The Miami

   Foundation and the Receiver pursuant to the Rescission Agreement with Comerica, the following

   funds remain in accounts controlled by the Receiver:

          a) $748,483.83 in a Wells Fargo Business Checking Account;

          b) $193,771.48 in a Gibraltar Private Bank Operating Account; and

          c) $675.36 in a Gibraltar Private Bank Operating Account.

   These amounts are explained more fully below.

                       (a) Cash Held In The Wells Fargo Business Checking Account

          The Receivership maintained a business checking account at Wells Fargo Bank. The

   account was opened and maintained for the operating expenses of the Receivership Estate and was

   primarily used to make payments to annuitants and to pay the costs associated with operation of

   the ongoing business of the Estate since the inception of the Receivership. In October 2014, the

   Receiver transferred $4.2 million from the Wells Fargo account to Comerica, and in November

   2014, the Receiver transferred an additional $1.2 million to Comerica. As a result, the Wells Fargo

   account was left with a balance of $404,654.50, which the Receiver intended to transfer, less fees

   and expenses, at the termination of the Receivership. However, Comerica rescinded its Agreement

   with the Receiver prior to the termination of the Receivership. As a result, the final transfer was

   never made from the Receivership to Comerica, and Comerica transferred those funds previously

   received from the Receivership Estate to The Miami Foundation.

          At the time of the Transfer to The Miami Foundation, the Receiver agreed with The Miami

   Foundation representatives that the funds in the Wells Fargo account would be transferred to The

   Miami Foundation at the time of the Receiver’s discharge. The Receiver has kept The Miami




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   Foundation informed of the balance in the account and intends to transfer those funds, including

   all interest earned in the account, to The Miami Foundation upon her final discharge.

          (b) The Gibraltar Private Bank Operating Account (1)

          The Gibraltar Bank Operating Account was opened and used for the payment of fees and

   costs of the Receiver and her professionals, including legal fees and costs. The Receiver maintains

   in this account the funds necessary to pay the holdbacks from the approved fees to all counsel at

   the close of the Receivership. After all of the Receiver’s professionals have been paid outstanding

   fees and costs, the Receiver will transfer the balance of the account to The Miami Foundation,

   including all interest earned in the account.

          (c) The Gibraltar Private Bank Operating Account (2)

          The Receiver opened and used a second Gibraltar Bank Operating Account solely for the

   purpose of receiving funds derived from litigation by the Receiver against third parties. Therefore,

   all settlement proceeds from litigation against former directors and officers, former counsel, and

   former marketing advisors have been deposited into this account.              Those funds are then

   periodically transferred into the above-described Gibraltar Operating Account (1). As discussed

   below, there is one action against a former marketing advisor that remains pending and that will,

   hopefully, result in additional funds to the Estate, and there is at least one former marketing advisor

   who continues to make scheduled settlement payments to the Receiver into this account.

          In light of the minimal amount of ongoing activity in this account, the Receiver intends to

   close the account and transfer all of the funds into the above Gibraltar Operating Account for

   transfer to The Miami Foundation at the close of the Receivership.




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          V. REMAINING DUTIES AND RESPONSIBILITIES OF THE RECEIVER

          As indicated above, at this time, the Receiver’s only remaining work on behalf of the

   Receivership Estate involves the winding down and resolution of the final actions against WTP’s

   former marketing advisors and working to assure that the transfer of the CGAs to Comerica is

   carried out according to the terms of the Transfer Agreement and in the best interests of the

   annuitants.

          A. Clawback Litigation

          Insofar as the clawback claims against former marketing are concerned, litigation remains

   pending in one such case in which default final judgment in the amount of $409,371.24 was entered

   in June 2015 (Case No. 15-CV-20830 [ECF# 11]). A deposition in aid of execution is scheduled

   for February 16, 2016 in that case. In addition, the Receiver continues to receive payments

   pursuant to a settlement agreement with one other former advisor. With the exception of these

   two cases, the Receiver’s work on clawback claims has wrapped up. As set forth above and in

   previous reports filed with this Court, the Receiver continues to transfer all proceeds from these

   cases to The Miami Foundation, after the deduction of applicable fees and costs.

          B. Miscellaneous Duties

          The Receiver has also been assisting The Miami Foundation with the handling of litigation

   by a former annuitant in Illinois. The Receiver also maintains tax records to assure that the

   Receivership’s reporting responsibilities are met through the date of discharge.

          C. The Annuities

          Other than the above litigation, the Receiver is working with The Miami Foundation to

   assure that a satisfactory investment plan is in place for the Program. As of the end of January

   2016, The Miami Foundation maintains 941 commercial annuities as part of the CGA Program.



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   The accumulated value of the annuities held by The Miami Foundation is approximately

   $47,422,622.83, and the cash surrender value is approximately $39,229,088.60. As of that same

   period, the present value of the required payments to annuitants pursuant to the CGA contracts

   was approximately $41,816,159. Based on these values, the Receiver is confident that the Program

   is sustainable if properly managed.

            The Receiver posits that by leaving the Receiver in place for an additional two-month

   period, albeit with very limited duties and powers, the Receiver and her counsel will have sufficient

   time to work with The Miami Foundation to assist them with putting a satisfactory investment plan

   in place for the CGA Program and to complete the transfers to The Miami Foundation of all

   remaining funds from the Receivership Estate..

          Two weeks after the close of the two-month period, the Receiver will report her findings

   concerning The Miami Foundation’s compliance with the Transfer Order and will provide a final

   accounting concerning the transfer of any outstanding funds to The Miami Foundation.

                                         VI. CERTIFICATION

          Undersigned counsel hereby certifies that she has conferred with counsel for the SEC

   regarding her recommendations herein and such counsel consents to those recommendations.

                                         VII. CONCLUSION

          WHEREFORE, for the reasons set forth above, the Receiver respectfully recommends that

   this Court enter an order requiring the Receiver to remain in place for two months with the limited

   responsibilities of assisting The Miami Foundation with the implementation of an investment plan

   that is satisfactory to the Receiver and reporting her findings to the Court within two weeks after

   the end of the two months; of completing all administrative and tax-related duties relating to the




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   transfer of the Program to The Miami Foundation; and of transferring all remaining funds; and

   granting such other relief as this Court deems just and appropriate.

   Dated: February 5, 2016.

                                                Respectfully submitted,

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                                                /s/ Melissa Damian Visconti
                                                MELISSA DAMIAN VISCONTI
                                                FLORIDA BAR NO. 0068063



                                   CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a true and correct copy of the foregoing Receiver’s Eighth

   Status Report With Accounting of Receivership Assets Transferred to Comerica and Motion for

   Partial Discharge was served via CM/ECF this 5th day of February, 2016, upon all counsels of

   record.


                                                /s/ Melissa Damian Visconti
                                                MELISSA DAMIAN VISCONTI




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